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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

DOWN-LITE INTERNATIONAL, INC.,, ) Case No. 1:19-cv-627

Plaintiff, ) Judge Susan J. Dlott
¥ )
CHAD ALTBAITER, et al.,

Defendants.

CONSENT DECREE AND ORDER

WHEREAS, Plaintiff, Down-lite International, Inc. (“Down-lite”), filed this action
against Chad Altbaier and Paice Partners Global, LLC (“Defendants”) and Defendants filed
counterclaims against Down-lite, all of which now are being litigated in the United States
District Court for the Southern District of Ohio, Case Number 1:19-cv-627.

WHEREAS, the Parties desire to resolve this matter, without further formal proceedings
and have voluntarily entered into this Consent Decree and Order;

NOW, THEREFORE, in consideration of the promises and mutual covenants set forth in
the parties’ contemporaneously executed Settlement Agreement and Release (the “Agreement”),
the parties request the Court to enter this Consent Decree and Order, accordingly:

A, Altbaier and PAICE agree that they will not, on or before December 31, 2020,
have any communication in any regard (text, email, phone, Whatsapp messages, social media
direct messages, Facebook posts, or other), directly or indirectly, with any Outerwear
Representative of the entities identified in the Agreement.

B. This matter as between these parties is dismissed with prejudice, each party to
bear its own costs, and this Court retains jurisdiction for the purpose of enforcing the terms of

this Order and the Agreement between the Parties.
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C. Based upon the foregoing, the Court finds that this Decree is fair and reasonable,
both procedurally and substantively, consistent with applicable law, in good faith, and in the
public interest. The Court enters judgment accordingly:

WHEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that each party be
and they are hereby ordered to comply with the terms and conditions of this Decree and
Order entered into as a result of the settlement of the Parties.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that with the
concurrence of Altbaier, Paice and Down-lite, the claims as between them are
DISMISSED WITH PREJUDICE and, that the jurisdiction of this Court over issues
between them is reserved to enforce the terms and conditions of this Decree and Order.

The Clerk of Court is directed to enter judgment accordingly and return to Down-lite the
bond held by the Clerk in the amount of $25,000.

Dated: Aept. IJ 2020
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Honorable Susan

United States District Court Judge

 

Approved for entry by:

/s/ Michael A. Roberts
Michael A. Roberts, Counsel for Plaintiff

 

/s/ Rebecca Bennett
Rebecca Bennett, Counsel for the Defendants

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